Case 23-13131-CMG             Doc 32       Filed 04/17/23 Entered 04/17/23 10:08:01                       Desc Main
                                          Document      Page 1 of 3



KATTEN MUCHIN ROSENMAN LLP
Michael M. Rosensaft, Esq. (NJ Bar No. 236732017)
Steven J. Reisman, Esq.
Cindi M. Giglio, Esq. (pro hac vice pending)
50 Rockefeller Plaza
New York, NY 10020-1605
(212) 940-8800
(212) 940-8776
michael.rosensaft@katten.com

Attorneys for Gordon Brothers
Retail Partners LLC

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


In re:                                                        Chapter 11

DAVID'S BRIDAL, LLC, et al.,                                  Case No. 23-13131 (CMG)

                                    Debtors. 1                (Joint Administration Requested)



         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that the undersigned hereby appears in the above-referenced

chapter 11 cases on behalf of Gordon Brothers Retail Partners LLC (“Gordon Brothers”) and,

pursuant to Rules 2002, 9007 and 9010(b) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), hereby requests that copies of all notices and pleadings given or required to

be given in this case, and all papers served or required to be served in this case, be delivered and

served upon the undersigned attorneys at the following address, telephone and email addresses,

and further requests to be added to the master service list established in this case:


1
  The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
number, are: David’s Bridal, LLC (4563); DBI Midco, Inc. (7392); DBI Holdco II, Inc. (7512); DBI Investors, Inc.
(3857); David’s Bridal Canada, Inc. (N/A); and Blueprint Registry, LLC (2335). The location of debtor David’s
Bridal, LLC’s principal place of business and the debtors’ service address in these chapter 11 cases is 1001 Washington
Street, Conshohocken, Pennsylvania 19428.
Case 23-13131-CMG           Doc 32    Filed 04/17/23 Entered 04/17/23 10:08:01               Desc Main
                                     Document      Page 2 of 3



                               Michael M. Rosensaft, Esq.
                               KATTEN MUCHIN ROSENMAN LLP
                               50 Rockefeller Plaza
                               New York, NY 10020-1605
                               Telephone: (212) 940-6631
                               Email: michael.rosensaft@katten.com

                               - and -

                               Steven J. Reisman, Esq.
                               KATTEN MUCHIN ROSENMAN LLP
                               50 Rockefeller Plaza
                               New York, NY 10020-1605
                               Telephone: (212) 940-8700
                               Email: sreisman@katten.com

                               - and -

                               Cindi M. Giglio, Esq.
                               KATTEN MUCHIN ROSENMAN LLP
                               50 Rockefeller Plaza
                               New York, NY 10020-1605
                               Telephone: (212) 940-3828
                               Email: cgiglio@katten.com

        PLEASE TAKE FURTHER NOTICE that that pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing request includes not only notices and papers referred to in the

above-referenced Bankruptcy Rules and the Bankruptcy Code, but also includes, without

limitation, all other notices, papers, reports, orders, agenda letters, applications, motions, petitions,

pleadings, requests, complaints or demands, statements of affairs, operating reports, schedules of

assets and liabilities whether formal or informal, whether written or oral, and whether transmitted

or conveyed by the United States overnight or electronic mail, facsimile, courier, telephone,

otherwise in these cases.

        PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and

Request for Notices and Papers (the “Notice”), nor any later appearance, pleading, proof of claim,

claim or suit shall constitute a waiver of (i) the right to have final orders in non-core matters entered



                                                   2
Case 23-13131-CMG          Doc 32    Filed 04/17/23 Entered 04/17/23 10:08:01               Desc Main
                                    Document      Page 3 of 3



only after de novo review by a District Judge, (ii) the right to trial by jury in any proceeding related

to, or triable in, these cases or any case, controversy or proceeding related to these cases, (iii) the

right to have the District Court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal, (iv) any objection to the jurisdiction of this Court for any purpose other

than with respect to this Notice, (v) an election of remedy, or (vi) any other rights, claims, actions,

defenses, setoffs or recoupments as appropriate, in law or in equity, under any agreements, all of

which rights, claims, actions, defenses, setoffs and recoupments are expressly reserved.

Dated:    April 17, 2023                      Respectfully submitted,

                                              KATTEN MUCHIN ROSENMAN LLP

                                               /s/ Michael M. Rosensaft
                                              Michael M. Rosensaft (NJ Bar No. 236732017)
                                              Steven J. Reisman
                                              Cindi M. Giglio (pro hac vice admission pending)
                                              50 Rockefeller Plaza
                                              New York, NY 10020-1605
                                              Telephone: (212) 940-8800
                                              Facsimile: (212) 940-8776
                                              E-mail: michael.rosensaft@katten.com
                                                        cgiglio@katten.com
                                                        sreisman@katten.com




                                                   3
